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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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                                                                           :
  IN RE PAYMENT CARD                                                       : Case No. 1:05-md-1720-MKB-JAM
  INTERCHANGE FEE AND MERCHANT                                             :
  DISCOUNT ANTITRUST LITIGATION                                            :
                                                                           :
  This Document Applies to:                                                ::
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  Palladino, et al. v. JPMorgan Chase & Co., et al., ::
  Case No. 1:23-cv-1215-MKB-JAM                                              ::
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                DEFENDANTS’ MEMORANDUM OF :LAW IN SUPPORT OF THEIR
           MOTION TO DISMISS THE COMPLAINT                                       : AND COMPEL ARBITRATION
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         Defendants respectfully submit this memorandum of law in support of their motion to

  dismiss the First Amended Class Complaint (“FAC” or “Complaint”) and compel arbitration.1

                                   PRELIMINARY STATEMENT

         Plaintiffs’ action is the latest attempt by the same counsel to bring claims on behalf of credit

  and debit cardholders over interchange fees. Courts around the country have uniformly barred

  claims similar to plaintiffs’ here because cardholders do not directly pay interchange fees and any

  supposed harm they may have suffered is far too attenuated from any allegedly anticompetitive

  conduct. This Court itself has dismissed cardholder claims in an earlier case also brought by

  plaintiffs’ counsel, and the Second Circuit affirmed. See Salveson v. JP Morgan Chase & Co.,

  2014 WL 12770235, at *3 (E.D.N.Y. Nov. 26, 2014) (“Salveson I”), on reconsideration in part,

  166 F. Supp. 3d 242 (E.D.N.Y. 2016) (Brodie, J.) (“Salveson II”), aff’d, 663 F. App’x 71 (2d Cir.

  2016) (“Salveson III”). These precedents compel dismissal of plaintiffs’ claims under California’s

  Cartwright Act for lack of antitrust standing, which in turn mandates dismissal of plaintiffs’ claims

  under California’s Unfair Competition Law (“UCL”).

         First, plaintiffs allege that they have standing because each cardholder acts “as direct

  purchaser and direct payer” of a “transaction” involving interchange fees (FAC ¶ 82), but this

  standing theory was unequivocally rejected by this Court and the Second Circuit in Salveson:

  “[T]he structure of these transactions demonstrates that cardholders do not directly pay interchange

  fees.” Salveson III, 663 F. App’x at 75.




  1
    Defendants move to dismiss under Federal Rule of Civil Procedure 12(b)(6), except Visa moves under
  Rule 12(c) since it has already answered the Complaint. See, e.g., SEC v. Stone, 2023 WL 6387276, at *13
  (S.D.N.Y. Sept. 29, 2023); Stegemann v. Rensselaer Cnty. Sheriff’s Off., 2019 WL 3765597, at *2
  (N.D.N.Y. Aug. 8, 2019). PNC defendants additionally move to dismiss under Rule 12(b)(2) for lack of
  personal jurisdiction and, in the alternative, join in defendants’ joint motion.
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         Second, plaintiffs cannot manufacture standing with their even more attenuated assertion

  that each cardholder “is damaged as an indirect purchaser [that] pay[s] inflated prices for

  everything because interchange is built into ticket prices.” (FAC ¶ 81.) This indirect purchaser

  theory readily fails the applicable “efficient enforcer” test for antitrust standing because (among

  other things) plaintiffs’ alleged injuries are necessarily derivative of supposed injuries borne by

  merchants, who have sought to recover damages stemming from the same conduct. See Associated

  Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519 (1983) (“AGC”).

  Indeed, the exact same theory has been addressed by numerous courts, including state supreme

  and appellate courts, see, e.g., Ho v. Visa U.S.A. Inc., 3 Misc. 3d 1105(A) (Sup. Ct. N.Y. Cnty.

  2004); Kanne v. Visa U.S.A. Inc., 723 N.W.2d 293 (Neb. 2006); Nass-Romero v. Visa U.S.A. Inc.,

  279 P.3d 772 (N.M. Ct. App. 2012); Southard v. Visa U.S.A. Inc., 734 N.W.2d 192 (Iowa 2007),

  and summarily dismissed on the pleadings after applying the AGC analysis. The same result holds

  here because the Second Circuit has scrupulously enforced AGC standing requirements and held

  that “California law substantially incorporates” them. See Schwab Short-Term Bond Mkt. Fund v.

  Lloyds Banking Grp. PLC, 22 F.4th 103, 120 (2d Cir. 2021).

         Consistent with federal law, California courts agree that plaintiffs cannot establish antitrust

  injury under California law where (a) plaintiffs’ alleged injury is “secondary, consequential, [and]

  remote,” or (b) it “occurred in a different market from the allegedly anticompetitive conduct.”

  Meyer v. Qualcomm Inc., 2009 WL 539902, at *9 (S.D. Cal. Mar. 3, 2009). That is precisely the

  case here. Plaintiffs’ alleged economic injury from paying merchant prices that may incorporate

  interchange fees, which “represent a transfer of value between the financial institutions” (FAC

  ¶ 127), is “secondary,” “consequential,” and “remote” to the alleged conspiracy to fix interchange

  fees. Moreover, cardholders’ payments for goods and services occur in an entirely “different”



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  market from the one in which issuing and acquiring banks assess fees for payment card network

  transactions. Meyer, 2009 WL 539902, at *9; see also Lexmark Int’l, Inc. v. Static Control

  Components, Inc., 572 U.S. 118, 126 (2014) (antitrust standing is limited to “plaintiffs whose

  injuries were proximately caused by a defendant’s antitrust violations”).

         Third, plaintiffs’ UCL claims, based on the same allegations underlying their Cartwright

  Act claims, fare no better: “Under California law, [w]here a plaintiff fails to state an antitrust

  claim, and where an unfair competition claim is based upon the same allegations, such state claims

  are properly dismissed.” Oliver v. Am. Express Co., 2020 WL 2079510, at *17 (E.D.N.Y. Apr. 30,

  2020) (internal quotations omitted).

         Finally, at a minimum, this Court should bar any claims that accrued before December 30,

  2018—four years before plaintiffs filed the Complaint. See Cal. Bus. & Prof. Code § 16750.1

  (Cartwright Act) (four-year statute of limitations); Cal. Bus. & Prof. Code § 17208 (UCL) (same).

  Plaintiffs’ claim for damages back to 2004 relies on a facially implausible statement that they

  “could not have uncovered the alleged violations” before bringing this lawsuit. (FAC ¶¶ 88, 206-

  07.) This Court should give this no weight: The Complaint plainly rests on allegations that

  merchant plaintiffs made in this Court starting in 2005. Indeed, plaintiffs’ own counsel made

  similar allegations on behalf of cardholders in Salveson 10 years ago.

         Separately, the Complaint should be dismissed as against the non-California resident PNC

  defendants for lack of personal jurisdiction because (i) they are not “fairly regarded as at home”

  in the forum, and (ii) none of the named plaintiffs has a PNC payment card, and this lawsuit does

  not “aris[e] out of or relat[e] to the defendant’s contacts with the forum.” Bristol-Myers Squibb

  Co. v. Superior Ct. of Cal., S.F. Cnty., 582 U.S. 255, 262 (2017) (alterations in original).

         In any event, as explained below, plaintiffs’ claims against defendants belong in arbitration.



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                                             BACKGROUND2

          A. Plaintiffs’ Own Pleadings Allege That Interchange Fees Are Set by Card
             Networks and Paid by Acquiring Banks to Issuing Banks

          A typical Visa or Mastercard payment card transaction involves at least five parties: (i) the

  cardholder, who uses a payment card to purchase a product or service; (ii) the merchant selling the

  product or service; (iii) the bank that issued a payment card to the cardholder (often referred to as

  the “issuer” or “issuing bank”); (iv) the merchant’s bank that handles cardholder transactions

  (often referred to as the “acquirer” or “acquiring bank”); and (v) the payment card network (Visa

  or Mastercard), which “suppl[ies] the channels that move transaction data and funds among

  cardholders, merchants, merchants’ banks, [and] cardholders’ banks.” (See FAC ¶¶ 2-5.)

          This case focuses on interchange fees, which “represent a transfer of value between the

  financial institutions participating in” the payment card networks. (Id. ¶ 127 (quoting Visa Rules)

  (emphasis added).) Specifically, they represent “an amount paid by the Acquirer to the Issuer”—

  that is, paid by the merchant’s bank to the cardholder’s bank “to reimburse the expenses [the

  cardholder’s bank] sustained in processing the cardholder’s transaction.”                 (Id. ¶ 63; FAC

  Addendum at 123 (quoting Mastercard Rules); id. at 113 (“An Interchange Reimbursement Fee is

  a default transfer price between Acquirers and Issuers within the Visa system.”) (quoting Visa

  Core Rules); FAC ¶ 124 (noting that interchange fees are “set by the network, charged to acquirers

  and received by debit card issuers as part of a debit card transaction”) (emphasis added); see also

  id. at 9, 45 (charts illustrating interchange fees running between issuer and acquirer).)




  2
    The facts are drawn from the allegations in the Complaint (which are accepted as true for purposes of this
  motion), documents incorporated in the Complaint by reference, and matters of which the Court may take
  judicial notice. See Hu v. City of New York, 927 F.3d 81, 88 (2d Cir. 2019).

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         A merchant’s cost of accepting a payment card transaction is known as “the merchant

  discount fee or merchant discount rate,” and interchange fees are allegedly the “largest priced fee

  within the merchant discount rate.” (Id. ¶ 62.) According to plaintiffs, merchants “mark[] up

  prices and shift[] their inflated interchange costs to cardholders (and all customers),” who

  consequently “pay[] inflated prices for everything because interchange is built into ticket prices.”

  (Id. ¶¶ 5, 80, 81.) Because merchants allegedly pass the cost of card acceptance to customers,

  plaintiffs accuse “[l]iterally all retail merchants that accept credit or debit cards [of being] co-

  conspirators in the illegal conduct alleged” in the Complaint. (Id. ¶ 55.)

         B. Merchants Have Brought Lawsuits against Visa, Mastercard, and Member Banks
            for Allegedly Conspiring to Fix Interchange Fees

         As the Complaint notes, “[m]erchants have sued under the Sherman Act similarly alleging

  price-fixing of interchange fees” (FAC ¶ 69), and “seeking redress . . . against [many of] these

  same” defendants (id. ¶ 199). In the Merchant Discount Antitrust Litigation before this Court, the

  merchant plaintiffs alleged that Visa and Mastercard, along with their member banks, conspired to

  “collectively fix” interchange fee schedules at uniform, elevated levels. In addition, the merchant

  plaintiffs alleged that the defendants conspired to impose certain “Anti-Steering Restraints,” which

  allegedly prevent merchants from incentivizing customers to use alternative payment methods. (In

  re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., No. 1:05-md-1720-JG-

  JO, ECF No. 1153, SAC ¶¶ 8(d), 104 (incorporated by reference in FAC ¶ 200).) The merchant

  plaintiffs asserted that these fees and rules “restrain[ed] competition between Visa and MasterCard

  Member Banks.” (Id. ¶ 246.) Ultimately, as plaintiffs allege, the merchant damages class action

  has settled. (See FAC ¶ 69.)




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          C. Cardholders Previously Brought Lawsuits against Member Banks for Allegedly
             Conspiring to Fix Interchange Fees

          Almost a decade after the merchant plaintiffs’ lawsuits, a putative class of cardholders

  (represented by plaintiffs’ counsel) brought the Salveson action, alleging that credit and debit

  cardholders “paid supracompetitive price-fixed Interchange Fees” and seeking relief under federal

  law and the Cartwright Act. Like the merchant plaintiffs, the Salveson plaintiffs alleged that “the

  defendants—financial institutions that issued Visa and/or MasterCard payment cards—knowingly

  participated in a conspiracy to fix interchange fees.” Salveson I, 2014 WL 12770235, at *1.

          In Salveson I, Judge Gleeson dismissed the plaintiffs’ federal-law claims under the indirect

  purchaser doctrine established in Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977), and then, on

  the defendants’ motion for reconsideration, this Court held that the cardholder plaintiffs also

  lacked standing under California’s Cartwright Act. “As with the federal claim, Plaintiffs’ state

  law claim [was] based on allegations that cardholders are the direct payors of interchange fees that

  were inflated through anti-competitive behavior.” Salveson II, 166 F. Supp. 3d at 254. This Court

  reasoned that: (1) cardholders were “neither consumer[s] nor competitor[s] in the market in which

  trade was restrained”; (2) “the allegedly anticompetitive conduct of the issuing banks was not

  directed at cardholders and has not resulted in an injury for the Court to assess for its directness”;

  and (3) even assuming cardholders had been harmed, “there remains a large and predictable risk

  of duplicative recovery against the issuing banks as well as the need for ‘long and complicated

  proceedings’ to determine the damages due to cardholders and merchants.” Id. at 259-64. On that

  basis, the Court held that the plaintiffs “failed to assert a direct antitrust injury that confers standing




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  to bring a claim under the Cartwright Act.” Id. at 264. Plaintiffs appealed, and the Second Circuit

  affirmed in all respects. Salveson III, 663 F. App’x 71.3

          D. Plaintiffs File This Action against Visa, Mastercard, and Member Banks for
             Allegedly Conspiring to Fix Interchange Fees

          Plaintiffs in this case reprise the cardholder interchange claims that failed in Salveson. As

  observed by the Judicial Panel on Multidistrict Litigation when transferring this action to this

  Interchange MDL docket, it “involve[s] questions of fact that are common to the actions previously

  transferred” to the Interchange MDL docket (Transfer Order, Palladino v. JP Morgan Chase &

  Co., ECF No. 9, No. 23-cv-01215 (E.D.N.Y. Feb. 10, 2023)), including Salveson.4

          Plaintiffs seek to represent a putative class of “[a]ll Visa and Mastercard cardholders who

  are California citizens, each of whom has made retail purchases of goods and services in California

  using a Visa or Mastercard credit or debit card during the period from at least January 1, 2004, up

  to and including the date of filing this action.” (FAC ¶ 211.) They assert claims under California’s

  Cartwright Act, Cal. Bus. & Prof. Code § 16720 et seq., and UCL, Cal. Bus. & Prof. Code § 17200

  et seq. Plaintiffs seek monetary damages, disgorgement, and injunctive relief. (Id. at 95-96.) And

  they allege that defendants—Visa, Mastercard, and their member banks—have conspired “to fix

  interchange fees for various merchant-transactions” at “artificially high ‘default’” rates, which


  3
   More than three years later, the plaintiffs moved this Court for relief from final judgment under Federal
  Rule of Civil Procedure 60(b)(6), based on the Supreme Court’s decisions in Ohio v. American Express
  Co., 138 S. Ct. 2274 (2018), and Apple Inc. v. Pepper, 139 S. Ct. 1514 (2019). This Court denied that
  motion, plaintiffs appealed, and the Second Circuit again affirmed. See Salveson v. JP Morgan Chase &
  Co., 2020 WL 4810704 (E.D.N.Y. July 16, 2020) (Brodie, J.) (“Salveson IV”), aff’d, 860 F. App’x 207 (2d
  Cir. 2021) (“Salveson V”).
  4
   Apparently attempting to sidestep this Court’s and the Second Circuit’s Salveson decisions, plaintiffs filed
  their original complaint in California state court. (See Class Action Compl., Palladino v. JPMorgan Chase
  & Co., No. CGC-22-603801 (Cal. Super. Ct. Dec. 30, 2022).) Soon after, plaintiffs filed an amended
  complaint asserting the same claims. (See FAC, Palladino v. JPMorgan Chase & Co., No. CGC-22-603801
  (Cal. Super. Ct. Jan. 11, 2023).) On January 30, 2023, this action was removed to the United States District
  Court for the Northern District of California.

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  merchants then “absorb” and pass along to consumers in the form of higher retail prices for goods

  and services. (Id. ¶¶ 9, 55.) According to plaintiffs, “[d]efendants have succeeded in suppressing

  competition in the relevant market,” which “includes General Purpose Card Network Services,”

  and “markets for merchant acceptance” of credit and debit cards. (Id. ¶¶ 71, 100). Echoing

  allegations in the merchant cases and Salveson, plaintiffs here assert that Visa’s and Mastercard’s

  rules mandating “merchant-acceptance of their trademarked cards . . . are at the center of the

  conspiracy” by “provid[ing] the essential mechanism for the operation and enforcement of the

  price-fixing conspiracy alleged herein.” (Id. ¶ 6.) More specifically, plaintiffs allege that Visa’s

  and Mastercard’s “Rules and merchant-rate schedules,” coupled with “a regimen of Rules and

  regulations that prevent merchants from lowering their transaction costs,” lift interchange fees to

  supracompetitive levels. (Id. ¶¶ 77-79, 198.)

                                             ARGUMENT

         To survive a motion to dismiss, plaintiffs’ complaint must “contain sufficient factual

  matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

  556 U.S. 662, 678 (2009) (internal quotations omitted). Allegations reflecting mere “labels and

  conclusions” or “naked assertion[s] devoid of further factual enhancement” are insufficient. Id.

  “California courts similarly demand a ‘high degree of particularity in the pleading of Cartwright

  Act violations.’” Meyer, 2009 WL 539902, at *5 (quoting G.H.I.I. v. MTS, Inc., 147 Cal. App. 3d

  256, 265 (1983)). Plaintiffs cannot allege a claim for which they are efficient enforcers under the

  Cartwright Act or Unfair Competition Act, so their claims should be dismissed with prejudice.

    I.   PLAINTIFFS LACK STANDING TO ASSERT CLAIMS UNDER THE
         CARTWRIGHT ACT (CAUSES OF ACTION I-IV, VI-VII)

         Plaintiffs lack standing under the Cartwright Act to recover for claimed injuries derived

  from interchange fees allegedly set by card networks and paid by acquiring banks. “[A]ntitrust

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  standing is a threshold, pleading-stage inquiry and when a complaint by its terms fails to establish

  this requirement, the claim must be dismissed as a matter of law.” Salveson II, 166 F. Supp. 3d at

  256 (addressing standard applicable to Cartwright Act claims). “Antitrust standing is required

  under the Cartwright Act,” In re WellPoint, Inc. Out-of-Network “UCR” Rates Litig., 2013 WL

  12130034, at *11 (C.D. Cal. July 19, 2013) (quoting Knevelbaard Dairies v. Kraft Foods, Inc.,

  232 F.3d 979, 987 (9th Cir. 2000)), and the Second Circuit has held that “California’s antitrust

  standing analysis tracks its federal analog.” Schwab Short-Term Bond Mkt. Fund v. Lloyds

  Banking Grp. PLC, 22 F.4th 103, 114 (2d Cir. 2021). Therefore, “[t]o establish antitrust standing”

  under the Cartwright Act, “a plaintiff must show (1) antitrust injury, which is ‘injury of the type

  the antitrust laws were intended to prevent and that flows from that which makes defendants’ acts

  unlawful,’ and (2) that he is a proper plaintiff in light of four ‘efficient enforcer’ factors.” Id. at

  115 (quoting Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977)). Plaintiffs’

  “direct” and “indirect” theories of harm both fail these well-settled standards for antitrust standing.

         A. Plaintiffs’ “Direct Purchaser” Theory Fails

         Because acquiring banks—not cardholders—pay interchange fees, the Court can quickly

  dispatch with plaintiffs’ conclusory claim that they are “a direct purchaser and first payer”—the

  same claim this Court and the Second Circuit rejected in Salveson. Plaintiffs assert that “[t]he

  cardholder, as direct purchaser and direct payer, is damaged” because “[o]n authorization of the

  cardholder’s card, the [payment card] network simultaneously sells the transaction to both

  merchant and cardholder, who jointly share that single transaction.” (FAC ¶ 82 (citing Ohio v.

  Am. Express Co., 138 S. Ct. 2274 (2018) (“Amex II”); see also id. ¶ 57). But as Judge Gleeson

  explained in 2014, the structure of payment card transactions cannot support an allegation that

  cardholders pay interchange fees directly:



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          Because the interchange fee runs between financial institutions within the card
          services market, consumers do not directly pay interchange fees and are not directly
          injured by their imposition. The plaintiffs’ facile contention that cardholders
          pay interchange fees directly is refuted by their own allegations about how
          transactions over these two networks occur. It also bears no resemblance to the
          transaction structure at the heart of this nine-year-old case.

  Salveson I, 2014 WL 12770235, at *3 (emphasis added), aff’d, Salveson III, 663 F. App’x at 75

  (“[T]he structure of these transactions demonstrates that cardholders do not directly pay

  interchange fees.”); see also Salveson II, 166 F. Supp. 3d at 252.

          The same basic “transaction structure” remains at the center of this case. The Complaint

  recognizes that interchange fees “represent a transfer of value between the financial institutions”

  participating in the card payment networks (FAC ¶ 127 (quoting Visa Rules))—specifically, “an

  amount paid by the Acquirer to the Issuer.” (FAC Addendum at 123 (quoting Mastercard Rules);

  see also id. at 113 (“An Interchange Reimbursement Fee is a default transfer price between

  Acquirers and Issuers within the Visa system.” (quoting Visa Core Rules)); see FAC ¶ 124 (noting

  that interchange fees are “set by the network, charged to acquirers and received by debit card

  issuers as part of a debit card transaction”); id. at 9, 45 (charts illustrating interchange fees running

  between issuer and acquirer).) In light of this structure, as this Court held in Salveson, plaintiffs’

  “conclusory, contradictory and insufficient” allegations that cardholders are direct purchasers of

  interchange (see, e.g., FAC ¶ 249 (stating that “interchange fees [are] paid directly from Plaintiffs’

  accounts to Plaintiffs’ card-issuing banks and subsequently withheld from amounts merchants

  banks transmit to merchants”)), cannot forestall dismissal. Salveson II, 166 F. Supp. 3d at 251;

  see also Hirsch v. Arthur Andersen & Co., 72 F.3d 1085, 1095 (2d Cir. 1995) (affirming dismissal

  where “attenuated allegations . . . are contradicted both by more specific allegations . . . and by

  facts of which we may take judicial notice”) (cited by Salveson II, 166 F. Supp. 3d at 252).




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          Plaintiffs try to sidestep this conclusion by claiming they were “direct joint purchasers”

  (alongside merchants) in a two-sided market under Amex II. (FAC ¶¶ 82, 105.) But as this Court

  already held in Salveson IV (and the Second Circuit affirmed in Salveson V), this argument

  misconstrues Amex II by confusing its discussion of market definition with plaintiffs’ standing.

  The Amex court found that credit card markets are “two-sided transaction platforms,” and “courts

  must include both sides of the platform—merchants and cardholders—when defining the credit-

  card market.” Amex II, 138 S. Ct. at 2286 (emphasis added). As Salveson explained, however, no

  matter how one defines the markets at issue in payment card transactions, cardholders “do not

  directly pay the [allegedly] heightened interchange fees,” Salveson V, 860 F. App’x at 209, because

  “nothing about the structure of the transaction at issue has changed,” Salveson IV, 2020 WL

  4810704, at *11. So too here: Because plaintiffs did not directly pay the interchange fees, they

  cannot rely on Amex II to manufacture antitrust standing.

          B. Plaintiffs’ Indirect Purchaser Theory Fails

              1. Plaintiffs Are Not “Efficient Enforcers” of the Cartwright Act

          Plaintiffs’ “indirect purchaser” theory—that allegedly supracompetitive interchange fees

  lead, somewhere down the line, to consumers “paying inflated prices for everything” (FAC ¶ 81)—

  also fails the test for “efficient enforcer[ ]” standing. “At its core, the efficient enforcer analysis

  requires a court to decide if the ‘plaintiff is a proper party to perform the office of a private attorney

  general and thereby vindicate the public interest in antitrust enforcement.’” Schwab, 22 F.4th at

  115. “In AGC, the Supreme Court outlined four factors to guide this analysis: (1) the directness

  or indirectness of the asserted injury; (2) the existence of an identifiable class of persons whose

  self-interest would normally motivate them to vindicate the public interest in antitrust

  enforcement; (3) the speculativeness of the alleged injury; and (4) the difficulty of identifying



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  damages and apportioning them among direct and indirect victims so as to avoid duplicative

  recoveries.” Id. (cleaned up). All four AGC factors point decisively against plaintiffs’ standing to

  bring indirect purchaser claims under the Cartwright Act.5

                   a. Plaintiffs’ Alleged Injuries Are Not Direct

          First, plaintiffs’ alleged injuries as indirect purchasers are necessarily derivative, not direct.

  “To assess the directness of a plaintiff’s injury, . . . the court ‘look[s] to the chain of causation

  between [the plaintiff’s alleged] injury and the alleged restraint in the market.’” Salveson II, 166

  F. Supp. 3d at 262 (internal quotations omitted); accord Eagle v. Star-Kist Foods, Inc., 812 F.2d

  538, 541 (9th Cir. 1987) (finding no standing where “injuries were merely derivative” and as “[t]he

  chain of causation between the injury and the alleged restraint in the market should lead directly

  to the ‘immediate victims’ of any alleged antitrust violation”). That is why the Second Circuit

  “has repeatedly followed the first-step rule in the antitrust context,” which “draw[s] a line between

  those whose injuries resulted from their direct transactions with the [defendants] and those whose

  injuries stemmed from their deals with third parties.” In re Platinum & Palladium Antitrust Litig.,

  61 F.4th 242, 259-60 (2d Cir. 2023). When a plaintiff’s alleged injury stems from the “independent

  decision” of a third party, it “breaks the chain of causation.” In re Aluminum Warehousing

  Antitrust Litig., 2023 WL 7180648, at *2 (2d Cir. Nov. 1, 2023).

          Plaintiffs’ attempt to draw a connection between interchange fees and cardholders’ wallets

  winds through layer after layer of intermediate events: (1) The payment card networks allegedly


  5
    As the Second Circuit confirmed in Schwab, “California law substantially incorporates the AGC factors.”
  Id. at 120; Vinci v. Waste Mgmt., Inc., 36 Cal. App. 4th 1811, 1814 n.1 (1995) (applying AGC factors
  “[b]ecause the Cartwright Act has objectives identical to the federal antitrust acts, the California courts look
  to cases construing the federal antitrust laws for guidance in interpreting the Cartwright Act”); Oliver v.
  Am. Express Co., 2020 WL 2079510, at *13 (E.D.N.Y. Apr. 30, 2020); In re Am. Express Anti-Steering
  Rules Antitrust Litig., 433 F. Supp. 3d 395, 414 (E.D.N.Y. 2020) (similar), aff’d, 19 F.4th 127 (2d Cir.
  2021).

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  set default interchange fees at supracompetitive rates (FAC ¶¶ 62-63), leading to (2) the issuing

  banks charging supracompetitive interchange fees to the acquiring banks (id. ¶ 124), leading to

  (3) the merchants “absorb[ing]” the allegedly inflated interchange fees as part of a “package of

  fees” charged to them by acquiring banks (id. ¶¶ 5, 62, 66), leading to (4) the merchants “passing

  on” some proportion of those fees to consumers by raising prices on at least some goods and

  services they sell (id. ¶¶ 9, 55), finally leading to (5) consumers allegedly paying inflated prices

  for “everything” they purchase (id. ¶¶ 80, 81).6 Under this theory, any economic impact felt by

  plaintiffs derives wholly from effects felt more directly by several layers of other economic actors

  —including merchants. And because “California law does not allow recovery for an antitrust

  injury that is a ‘secondary, consequential, or remote’ result of the allegedly unlawful conduct,”

  plaintiffs’ attenuated theory cannot support standing under the Cartwright Act. In re Am. Express

  Anti-Steering Rules Antitrust Litig., 433 F. Supp. 3d at 416 (holding that sub-class failed to allege

  standing under Cartwright Act because any injuries based on effects of non-steering provisions

  were “simply too remote”).

          The exact same result follows independently from what the Second Circuit has termed the

  “first-step rule” for proximate cause in antitrust cases. In re Am. Express Anti-Steering Rules

  Antitrust Litig., 19 F.4th 127, 141 (2d Cir. 2021) (dismissing plaintiffs’ “price umbrella” theory

  for lack of antitrust standing because “Amex ‘enabl[ing]’ other credit card companies to raise the

  appellants’ fees does not establish the ‘direct relation’ between injury and antitrust violation that

  the first-step rule requires”). Plaintiffs fail that test because, as demonstrated above, plaintiffs “did

  not suffer a direct injury from the alleged antitrust violation.” Id. at 140; see In re Aluminum



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   Oftentimes, alleged overcharges would also need to pass through a third-party processor such as Elavon,
  First Data, Global Payments, or WorldPay. (FAC ¶ 54.)

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  Warehousing Antitrust Litig., 2023 WL 7180648, at *2 (first-step rule not satisfied where plaintiffs

  “claim that they purchased aluminum from non-conspiring third parties at prices that incorporated

  an inflated benchmark component” because “incorporation of the benchmark price into [the

  plaintiffs’] transactions with third parties was . . . an ‘independent decision’ that breaks the chain

  of causation”).

            Plaintiffs cannot plead around this deficiency by recasting those intermediaries, including

  “[l]iterally all retail merchants that accept credit or debit cards,” as “involuntary co-conspirators.”

  (FAC at 8, ¶¶ 54-55.) That conclusory label ignores what the rest of the Complaint actually

  alleges—that plaintiffs’ injury derives from an alleged antecedent injury to the merchants,

  supposedly “passed along to consumers.” (Id. ¶¶ 152, 228; see also id. ¶ 87 (“seek[ing] damages

  based upon merchants’ pass-through”).) As plaintiffs themselves point out (id. ¶¶ 199-200), the

  merchants have spent nearly two decades suing their so-called “involuntary co-conspirators” over

  the same alleged conspiracy animating this Complaint. See In re Payment Card Interchange Fee

  and Merchant Discount Antitrust Litig., Case 1:05-md-01720-MKB-JAM. In the end, plaintiffs’

  “bare assertion of conspiracy will not suffice” to transfigure their derivative injury into a direct

  one. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).

            Other courts agree.       State-law antitrust cases brought by cardholders challenging

  interchange fees predicated on similarly attenuated theories of injury have been dismissed on the

  pleadings under the AGC framework, including in states adopting so-called Illinois Brick “repealer

  statutes.”7 See, e.g., Ho v. Visa U.S.A. Inc., 3 Misc. 3d 1105(A), at *2 (Sup. Ct. N.Y. Cnty. 2004)

  (“[P]laintiffs’ claims, as general consumers at stores which accept Visa and MasterCard, are

  clearly derivative of the stores’ claims against those companies.”) (dismissing New York Donnelly


  7
      See N.Y. Gen. Bus. L. § 340(6); Neb. Rev. Stat. Ann. § 59-821; N.M. Stat. Ann. § 57-1-3.

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  Act claims for lack of antitrust standing), aff’d, 16 A.D.3d 256 (1st Dep’t 2005); Kanne v. Visa

  U.S.A. Inc., 723 N.W.2d 293, 296-99 (Neb. 2006) (holding “that appellants lack standing for their

  antitrust claims because their alleged injuries are derivative and remote” under Nebraska law

  where plaintiffs “assert a derivative injury based on a theory that merchants passed on the cost of

  an alleged tying of debit processing services to increase the prices of thousands of unrelated retail

  goods the merchants sold to consumers such as appellants”); Nass-Romero v. Visa U.S.A. Inc., 279

  P.3d 772, 778-79 (N.M. Ct. App. 2012) (“Plaintiff’s injury is better characterized as remote or

  derivative” because “[t]he alleged harm caused by Defendants’ tying scheme takes an abrupt left

  turn after reaching the merchants and branches off into supposed higher prices for all goods

  throughout New Mexico, mutating into a different form of harm to consumers.”) (affirming

  dismissal of New Mexico Antitrust Act claims for lack of antitrust standing); Southard v. Visa

  U.S.A. Inc., 734 N.W.2d 192, 199 (Iowa 2007) (affirming dismissal of cardholders’ claims under

  Iowa law where “the injuries alleged by the plaintiffs are not even indirect, as the plaintiffs are not

  in the chain of distribution,” but “are better described as derivative”).8

          It makes no difference that—as plaintiffs argued in their remand motion—the Cartwright

  Act “free[s]” them “from under the onerous penumbra of Illinois Brick’s federal Sherman Act


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    The list goes on. See also, e.g., Stark v. Visa U.S.A. Inc., 2004 WL 1879003, at *4 (Mich. Cir. Ct. July
  23, 2004) (“[T]he Court notes that courts in other states that have repealed the Illinois Brick rule have
  continued to apply antitrust standing requirements to dismiss the claims of plaintiffs who assert only
  derivative or remote injuries.”); Crouch v. Crompton Corp., 2004 WL 2414027, at *25–26 (N.C. Super. Ct.
  Oct. 28, 2004) (“Considering all five factors, [the plaintiff] lacks standing to pursue indirect purchaser
  claims” where, among other things, “it is apparent from the pleadings that any analysis will either be
  speculative or allocations enormously complex”); Peterson v. Visa U.S.A., Inc., 2005 WL 1403761, at *6
  (D.C. Super. Ct. Apr. 22, 2005) (finding that the plaintiff “lacks standing under [D.C. statute] because of
  the following Associated General Contractors factors: (1) his claims are remote and speculative; (2) more
  direct victims exist to enforce the antitrust laws; and (3) he has not shown that his harm is the type for which
  the antitrust laws provide redress”); Beckler v. Visa U.S.A., Inc., 2004 WL 2115144, at *3 (N.D. Dist. Aug.
  23, 2004) (“As ‘non-purchasers’ of defendants’ debit card services to merchants, the Court believes that
  plaintiffs lack standing to sue for the alleged restraint of trade in such services. Their alleged injury is
  simply too remote.”).

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  standing restrictions in federal price-fixing cases.” (ECF No. 15-1 ¶ 4; see also plfs.’ Jan. 24,

  2024 pre-motion letter, ECF No. 66 at 2 (similar).) Plaintiffs’ argument conflates two distinct

  doctrines. The California legislature did amend the Cartwright Act so that it would not apply the

  Supreme Court’s decision in Illinois Brick, which addressed whether “indirect purchasers” are

  categorically barred from recovery. But the Illinois Brick doctrine is “analytically distinct from

  the question of which persons have sustained injuries too remote to give them standing to sue.”

  Illinois Brick Co. v. Illinois, 431 U.S. 720, 728 n.7 (1977); see Boccardo v. Safeway Stores, Inc.,

  134 Cal. App. 3d 1037, 1042 (1982) (“[T]he holding of Illinois Brick is not a rule of standing”).

  Thus, courts in California—and in other Illinois Brick “repealer” states—continue to apply the

  AGC factors in dismissing state-law antitrust claims deemed too derivative or remote to confer

  standing. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 269 F. Supp. 2d 1213, 1218-

  25 (C.D. Cal. 2003) (party asserting Cartwright Act counterclaim lacked standing because it did

  “not participate, directly or indirectly, in the relevant market” and otherwise failed to satisfy AGC

  factors). Put differently, “[b]ecause Illinois Brick did not alter the Court’s antitrust standing

  jurisprudence, Illinois Brick’s repeal should imply nothing about standing.” Nass-Romero, 279

  P.3d at 781.

                 b. Merchants Have Sued Based on the Same Alleged Conduct

         Second, “this is obviously not a situation where the antitrust violators will go unpunished,

  because the parties who are directly injured will not sue.” Ho, 3 Misc. 3d 1105(A), at *3; Nass-

  Romero, 279 P.3d at 779 (“Preventing Plaintiff here from bringing a claim under the [antitrust law]

  will not ‘leave a significant antitrust violation undetected or unremedied.’”). Quite the opposite,

  “there is no shortage of other parties” who have spent nearly two decades seeking damages

  stemming from the same alleged conduct. See Schwab, 22 F.4th at 118; Southard, 734 N.W.2d at



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  199 (recognizing that “the action brought by merchants against Visa and MasterCard was settled

  by the defendants’ payment of more than three billion dollars”) (emphasis added). Plaintiffs

  recognize as much in their allegations referencing the merchants’ own lawsuits about interchange

  fees and the resulting $5.6-billion-dollar settlement. (FAC ¶¶ 228, 69 n.8.) Plaintiffs’ alleged

  dissatisfaction with the amount the merchants obtained (id. ¶ 69) does not grant them standing

  under the antitrust laws, which seek to ensure that violations not go “undetected or unremedied”—

  not to give pile-on plaintiffs a shot at duplicative downstream damages. Kanne, 272 Neb. at 495–

  96 (holding this factor weighed against standing where “it is undisputed that [merchants] settled a

  class action challenging the very same tying alleged here”). Nor can plaintiffs deny that a separate

  class of merchants is seeking injunctive relief. See Barry’s Cut Rate Stores Inc., et al. v. Visa,

  Inc., et al., No. 05-md-01720 (E.D.N.Y.).

                 c. Plaintiffs’ Alleged Injuries Are Speculative

         Third, plaintiffs’ alleged injuries are inherently, and incurably, speculative. In practice,

  plaintiffs’ damages theory asks a fact finder to calculate the alleged price overcharge on each and

  every transaction involving a Visa or Mastercard cardholder in California over the past nineteen

  years. For each purchase of a retail good from a California merchant, plaintiffs would need to

  demonstrate that (1) the merchant actually paid to its acquiring bank a merchant discount rate that

  included a supracompetitive default interchange rate, (2) the merchant did not absorb the cost of

  interchange (or some of that cost) by reducing profits or cutting costs, and (3) the merchant

  increased the price of that particular good because of the interchange fee and, if so, by how much.

  (See FAC ¶¶ 3, 5, 114.) See Ho, 3 Misc. 3d 1105(A), at *3 (ruling in a similar case brought by

  cardholders that “[t]he complexity and speculative nature of plaintiffs’ claims are overwhelming”);

  Kanne, 723 N.W.2d at 299 (dismissing as “speculative” plaintiffs’ “assert[ion] that they paid an



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  overcharge on every retail good that they purchased from every Nebraska merchant that accepted

  Visa or MasterCard, over the course of several years, regardless of the form of payment used to

  make their purchases”).

                  d. Plaintiffs’ Alleged Injuries Cannot Be Apportioned

          Fourth, and finally, plaintiffs’ indirect purchaser theory would invite duplicative recoveries

  and devolve into an unworkable apportionment of damages. See AGC, 459 U.S. at 543-44

  (“stress[ing] the importance of avoiding either the risk of duplicate recoveries on the one hand, or

  the danger of complex apportionment of damages on the other”).                    Those impermissible

  consequences stem from plaintiffs’ sweeping allegations, which purport to tie supracompetitive

  interchange fees in the card network services market to “inflated prices for everything.” (FAC

  ¶ 81.) “The complexity and speculative nature of plaintiffs’ claims are overwhelming,” and “[t]o

  determine what portion of any overcharge was passed on by any given merchant, with respect to

  which products, and to which consumers is a task of monumental uncertainty and complexity.”

  Ho, 3 Misc. 3d 1105(A), at *3; Nass-Romero, 279 P.3d at 779. The Complaint proposes no

  workable method to isolate the supposed effect of interchange fees on consumer prices, thus

  ignoring the “myriad independent reasons” for pricing goods and services “unrelated to the alleged

  violation of the” antitrust laws, and “apportioning damages would be a nightmare.” Kanne, 723

  N.W.2d at 299.9

          The merchant damages class settlement, as well as ongoing litigation in the Interchange

  MDL, makes these problems “not merely hypothetical,” but rather creates “a large and predictable

  risk of duplicative recovery against the issuing banks [and networks] as well as the need for ‘long



  9
   Indeed, the Complaint alleges that rates of pass through to customers vary not just by merchant, but also
  by time period and product category. (FAC ¶ 201.)

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  and complicated proceedings’ to determine the damages due to cardholders and merchants.”

  Salveson II, 166 F. Supp. 3d at 264 (quoting Eagle, 812 F.2d at 543). To reiterate, plaintiffs

  contend they suffer economic harm from “inflated anticompetitive interchange fees” because

  merchants pass those fees on to customers “in the form of higher prices.” (FAC ¶ 199; id. ¶ 228

  (“The elevated fees charged to merchants are damaging to Plaintiffs because Plaintiffs pay the

  merchants’ pass-through.”).) Because, as the Complaint admits, the economic impact of this

  alleged overcharge is borne more directly by merchants than cardholders, plaintiffs threaten to

  duplicate the recovery already obtained by merchants based on the same fees. See In re Payment

  Card Interchange Fee & Merch. Disc. Antitrust Litig. And ongoing suits by merchants who chose

  to opt out of the settlement only increase the “danger of duplication of evidence, facts, and

  damages.” See Eagle, 812 F.2d at 542-43. All told, these risks further undermine plaintiffs’ case

  for standing. See AGC, 459 U.S. at 544 (holding “that potential plaintiffs at each level in the

  distribution chain” should not “be in a position to assert conflicting claims to a common fund, the

  amount of the alleged overcharge, thereby creating the danger of multiple liability”).

             2. Plaintiffs Fail to Allege Antitrust Injury

         Although the Court need not reach the antitrust injury requirement in light of plaintiffs’

  failure to satisfy the AGC factors, see In re Am. Express Anti-Steering Rules Antitrust Litig., 19

  F.4th at 139 (“not address[ing] antitrust injury . . . [b]ecause the four efficient-enforcer factors do

  not establish antitrust standing”), this requirement nevertheless provides an independent basis for

  dismissing plaintiffs’ Cartwright Act claims. “In order for a private plaintiff to have standing to

  sue under the Cartwright Act, the plaintiff must prove antitrust injury.” Meyer, 2009 WL 539902,

  at *8 (quoting Cellular Plus, Inc. v. Superior Ct. of San Diego Cnty., 14 Cal. App. 4th 1224, 1235

  (1993)). At bottom, this requirement reflects “a rule that an action for violation of the antitrust



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  laws may be maintained only by a party within the ‘target area’ of the antitrust violation, and not

  by one incidentally injured thereby.” Kolling v. Dow Jones & Co., 137 Cal. App. 3d 709, 723-24

  (1982). To that end, antitrust injury under the Cartwright Act is limited to those that “were not

  secondary, consequential, or remote, but the direct result of the unlawful conduct and were the

  kind of injuries the antitrust laws seek to prevent.” Lorenzo v. Qualcomm Inc., 603 F. Supp. 2d

  1291, 1302 (S.D. Cal. 2009) (internal quotations omitted). A corollary is that “‘secondary or

  ‘consequential’” injuries, which “result from injury to third parties,” Saxer v. Philip Morris, Inc.,

  54 Cal. App. 3d 7, 26 (1975), cannot confer standing under the Cartwright Act.

          Applying those principles here, plaintiffs do not allege a cognizable antitrust injury under

  California law, for at least two reasons. First, as explained above, the injury plaintiffs assert is

  quintessentially “secondary and consequential.” It derives wholly from “injury to third parties”—

  the merchants who allegedly “absorb” interchange fees as part of the merchant discount fees paid

  to their acquiring bank. (FAC ¶¶ 3, 5, 9, 114, 201; see § B.1, supra.) On this score, a pair of

  related antitrust lawsuits—Meyer v. Qualcomm Inc. and Lorenzo v. Qualcomm Inc.—are

  particularly instructive. In those cases, as in this one, the plaintiffs alleged both that they purchased

  products at inflated retail prices due to anticompetitive practices upstream and that the allegedly

  anticompetitive practices rippled through “at least three intermediaries” before reaching the end-

  consumer plaintiff. Meyer, 2009 WL 539902, at *9; Lorenzo, 603 F. Supp. 2d at 1302. On those

  analogous facts, the plaintiffs’ Cartwright Act claims were dismissed in both cases because the

  injury alleged was “secondary, consequential, or remote.” Meyer, 2009 WL 539902, at *9 (noting

  that consumer good “also contains other technology which impacts the final price actually paid by

  Plaintiff”); Lorenzo, 603 F. Supp. 2d at 1302; see also In re Am. Express Anti-Steering Rules

  Antitrust Litig., 433 F. Supp. 3d at 416 (dismissing Cartwright Act claim because the plaintiffs’



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  “injury is—definitionally—secondary” where they alleged “higher merchant fees because of

  reactions to Amex’s rate-setting by independent actors”) (citing Meyer, 2009 WL 539902, at *8).

  So too here.

         Second, because plaintiffs are so far removed from the allegedly anticompetitive conduct,

  “[their] injuries occurred in a different market from the allegedly anticompetitive conduct.”

  Meyer, 2009 WL 539902, at *9; Lorenzo, 603 F. Supp. 2d at 1303. As a result, conferring standing

  on plaintiffs here would violate the “rule that an action for violation of the antitrust laws may be

  maintained only by a party within the ‘target area’ of the antitrust violation.” Kolling, 137 Cal.

  App. 3d at 723-24. The Complaint alleges anticompetitive conduct by Visa, Mastercard, and its

  member banks in the network services market. (See, e.g., FAC ¶ 150 (alleging “[t]he member

  banks have remained separate entities situated horizontally in the relevant market” where

  “[i]nstead of competing for merchant acceptance . . . they have perpetuated the anticompetitive

  Rules”)); id. ¶ 187 (“Visa had market power in the relevant market” (citing In re Visa

  Check/MasterMoney Antitrust Litig., 297 F. Supp. 2d 503 (E.D.N.Y. 2003)).) But the Complaint

  does not even suggest that cardholders compete or otherwise participate in that market. (See id.

  ¶ 259 (alleging that interchange fees “have had the purpose and effect of excluding competition

  from, and limiting the competitive opportunities of, other sellers in the relevant market”) (emphasis

  added).) Nor would such an allegation be plausible: If a cardholder purchased a good (say, socks)

  at an allegedly inflated retail price, that purchase occurred in the market for socks—not in the

  market for network services—whether or not a payment card is used. Plaintiffs concede this fact

  by alleging that a customer paying cash is charged the same allegedly inflated retail price. (Id.

  ¶¶ 72, 200.) See also Metro-Goldwyn-Mayer Studios Inc., 269 F. Supp. 2d at 1224 (dismissing

  Cartwright Act claims for lack of standing where plaintiff “does not participate, directly or



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  indirectly, in the relevant market”); Vinci v. Waste Mgmt., Inc., 36 Cal. App. 4th 1811, 1816 (1995)

  (dismissing Cartwright Act claim for lack of standing where plaintiff “was neither a consumer nor

  a competitor in the market in which trade was restrained”).

          In Salveson II, the Court rejected a similar attempt by cardholder-plaintiffs to obscure the

  distinction between separate payment-card markets:

          Although cardholders and issuing banks transact in the Payment Card Market, that
          is insufficient to overcome the fact that the allegedly anticompetitive interchange
          fee is set and paid between financial institutions in the Card Network Services
          Market, not between issuing banks and cardholders in the Payment Card Market.

  Salveson II, 166 F. Supp. 3d at 261. The same principle—applied to substantially the same facts—

  forecloses plaintiffs’ indirect purchaser claims here. If anything, plaintiffs’ indirect purchaser

  theory here is even more remote than the one this Court addressed in Salveson II because the

  alleged harm occurs in markets for retail goods that are even more attenuated from card network

  services. At most, a cardholder “is a consumer of goods sold by merchants who happen to be part

  of the affected market,” which is insufficient to confer standing. Nass-Romero, 279 P.3d at 778.

   II.    PLAINTIFFS’ CLAIMS UNDER THE CALIFORNIA UNFAIR COMPETITION
          LAW FAIL FOR THE SAME REASONS (CAUSES OF ACTION V-IX)

          Plaintiffs’ claims under the California Unfair Competition Law, Cal. Bus. & Prof. Code

  § 17200 et seq., are based on the same allegations underlying their Cartwright Act claims and

  therefore also warrant dismissal.10 “[U]nder California law, ‘[w]here a plaintiff fails to state an

  antitrust claim, and where an unfair competition claim is based upon the same allegations, such

  state claims are properly dismissed.’” Oliver v. Am. Express Co., 2020 WL 2079510, at *13

  (E.D.N.Y. Apr. 30, 2020) (quoting Formula One Licensing, B.V. v. Purple Interactive Ltd., 2001



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    Indeed, the allegations are identical with respect to Causes of Action V-VII, which are asserted under
  both the Cartwright Act and the California Unfair Competition Law.

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  WL 34792530, at *4 (N.D. Cal. Feb. 6, 2001)); In re Am. Express Anti-Steering Rules Antitrust

  Litig., 19 F.4th at 144 n.12 (“Because the UCL claim is predicated on violations of the Sherman

  and Cartwright Acts, we affirm the dismissal of that claim as well.”); Racek v. Rady Child.’s Hosp.

  of San Diego, 2012 WL 2947881, at *6 (Cal. Ct. App. July 20, 2012) (similar).11

   III.   PLAINTIFFS’ CLAIMS ARE LARGELY TIME-BARRED

          While the Court need not reach the issue of timeliness because plaintiffs’ claims should be

  dismissed in full for the reasons above, the majority of plaintiffs’ claims are also time-barred.

  Claims under the Cartwright Act and the UCL are subject to four-year statutes of limitations. See

  Cal. Bus. & Prof. Code § 16750.1 (Cartwright Act); Cal. Bus. & Prof. Code § 17208 (UCL).

  Plaintiffs seek to bring claims based on credit and debit card transactions dating as far back as

  January 1, 2004. (FAC ¶ 211.) Trying to avoid the effect of the applicable limitations periods,

  plaintiffs make the facially implausible assertion that they “could not have uncovered the alleged

  violations at an earlier date . . . due to the fraudulent concealment of activities through various

  means and methods designed to avoid detection.” (Id. ¶ 207; id. ¶ 206 (similar).)

          The Complaint plainly fails to plead the elements of fraudulent concealment. “The doctrine

  of fraudulent concealment tolls the statute of limitations where a defendant, through deceptive

  conduct, has caused a claim to grow stale.” Aryeh v. Canon Bus. Sols., Inc., 55 Cal. 4th 1185,

  1192 (2013). “But ‘that tolling will last as long as a plaintiff’s reliance on the misrepresentations

  is reasonable.’” Johnson v. Glock, Inc., 2021 WL 1966692, at *3 (N.D. Cal. May 17, 2021)

  (quoting Grisham v. Philip Morris U.S.A., Inc., 40 Cal. 4th 623, 637 (2007)). And that, in turn,


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     Additionally, plaintiffs’ failure to allege direct injury, standing, or a plausible claim that defendants
  conduct was otherwise fraudulent, unlawful, or unfair is independently fatal to any claim under the UCL.
  See Paulus v. Bob Lynch Ford, Inc., 139 Cal. App. 4th 659, 678 n.14 (2006) (explaining there is no
  “standing by a private UCL plaintiff except where that person has suffered direct injury as a result of the
  act of unfair competition complained of”).

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  “requires the plaintiff [to] (1) plead with particularity the facts giving rise to the fraudulent

  concealment claim and (2) demonstrate that he or she used due diligence in an attempt to uncover

  the facts.” Id. (internal quotation omitted). “To satisfy the second element, ‘the complaint must

  allege (1) when the fraud was discovered; (2) the circumstances under which it was discovered;

  and (3) that the plaintiff was not at fault for failing to discover it or had no actual or presumptive

  knowledge of facts sufficient to put him on inquiry.’” Id. (quoting Cmty. Cause v. Boatwright,

  124 Cal. App. 3d 888, 900 (1981)).

         Here, by contrast, the Complaint stands on boilerplate allegations devoid of detail and fails

  to allege (let alone with particularity) why plaintiffs “could not have uncovered the alleged

  violations at an earlier date.” (FAC ¶ 207.) If anything, the Complaint’s own allegations compel

  dismissal of the fraudulent concealment claim, as it chronicles “nearly two decades” of publicly-

  accessible “legislation and litigation” aimed at interchange fees. (Id. ¶¶ 203-05.)

         Importantly, plaintiffs’ own counsel brought the Salveson action over 10 years ago,

  alleging on behalf of cardholders that defendants’ conduct concerning interchange fees violated

  the Cartwright Act. Yet plaintiffs “have not attempted to explain why it took them years longer

  than the plaintiffs in [other interchange cases] to discover the same facts.” Bartlett v. BP W. Coast

  Prods. LLC, 2019 WL 2177655, at *1, *3 (S.D. Cal. May 17, 2019) (referring to another action

  where “the named Defendants, factual allegations and legal claims asserted in this action are nearly

  identical”); Galvez v. Ford Motor Co., 2018 WL 4700001, at *5 (E.D. Cal. Sept. 30, 2018)

  (rejecting fraudulent concealment defense to statute of limitations where “three class actions

  demonstrate[d] that during [plaintiff’s] several years of inaction, other similarly situated

  consumers identified the fraud alleged here and pursued their claims”).                 Under these

  circumstances, “a conclusory allegation that [plaintiffs] would not have discovered the alleged



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  violations through reasonable diligence . . . is insufficient.” Johnson, 2021 WL 1966692, at *4.

  Plaintiffs have not “pled any facts regarding [their] discovery of the alleged fraud,” Belyea v.

  Greensky, Inc., 2021 WL 1338549, at *3 (N.D. Cal. Apr. 9, 2021) (emphasis added), an essential

  element of fraudulent concealment, Klehr v. A.O. Smith Corp., 521 U.S. 179, 194–96 (1997).

         Accordingly, plaintiffs “cannot recover alleged excess charges preceding the four-year

  limitations period.” Aryeh, 55 Cal. 4th at 1200–01. That means plaintiffs cannot recover damages

  from transactions before December 30, 2018.

   IV.   SEPARATELY, THE PNC DEFENDANTS SHOULD BE DISMISSED FOR LACK
         OF PERSONAL JURISDICTION

         Non-California resident defendants PNC Bank, National Association (“PNC Bank”) and

  its indirect holding company, PNC Financial Services Group, Inc. (“FSG”) (collectively, the “PNC

  defendants”) additionally move to dismiss the Complaint for lack of personal jurisdiction pursuant

  to Fed. R. Civ. P. 12(b)(2). They are not “fairly regarded as at home” in the forum.

         A. There Is No General Personal Jurisdiction over PNC Defendants in California
            Because They Are Not Domiciled or “At Home” There

         Where a case has been transferred to a multidistrict litigation proceeding, personal

  jurisdiction depends on whether the transferor court had such jurisdiction. See, e.g., Kalama v.

  Matson Navigation Co., 875 F.3d 297, 302 (6th Cir. 2017). It did not.

         The United States Constitution limits the exercise of personal jurisdiction by courts over

  non-resident defendants. Int’l Shoe Co. v. Wash., 326 U.S. 310, 316 (1945); Bristol-Meyers

  Squibb v. Superior Ct. of Cal., S.F. Cnty., 582 U.S. 255, 261 (2017). The defendant must be

  subject to either general or specific jurisdiction. Id. at 262. For there to be general jurisdiction

  over a corporation, the forum must be “one in which the corporation is fairly regarded as at home.”

  Id. at 262. That is typically where a corporation is incorporated or has its principal place of



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  business; it is not simply where the corporation does business. Daimler AG v. Bauman, 571

  U.S. 117, 137 (2014).

          The Supreme Court has declared emphatically that doing business in a state does not render

  it subject to the general jurisdiction of that forum. California does not have general jurisdiction

  over PNC defendants unless their affiliations are “so ‘continuous and systematic’ as to render them

  essentially at home in the forum state.” Goodyear Dunlop Tires Operations, S.A. v. Brown, 564

  U.S. 915, 919 (2011) (quoting Int’l Shoe, 326 U.S. at 317). For PNC defendants to be subject to

  general jurisdiction, they must have their “domicile, place of incorporation, [or] principal place of

  business” in California. Goodyear, 564 U.S. at 924. This is not the case. PNC defendants are

  domiciled, incorporated, and operate their principal places of business in Pennsylvania and

  Delaware—not California. See Declaration of Regis Ramos. Accordingly, PNC defendants are

  not “at home” in California nor subject to general jurisdiction there.12

          B. No Specific Jurisdiction Exists Because Plaintiffs Do Not Allege, as to PNC
             Defendants, an Affiliation between the Forum and the Underlying Controversy

          Nor is plaintiffs’ stream-of-commerce averment sufficient to establish specific jurisdiction.

  Specific jurisdiction requires a connection between the forum and the underlying controversy:

  “principally, activity or an occurrence that takes place in the forum State and is therefore subject

  to the State’s regulation.” Goodyear, 564 U.S. at 919. When there is no such connection, specific



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    See, e.g., Project Stewart LLC v. JPMorgan Chase Bank, N.A., 2022 WL 971478, *3 (W.D. Wash. Mar.
  31, 2022) (concluding that “as a national banking association, [JPMC] engages in business in many other
  jurisdictions and cannot be at home in all of them”). At the pre-motion conference, plaintiffs also suggested
  that jurisdiction could be found over the PNC defendants under the Clayton Act’s nationwide service-of-
  process provision. 15 U.S.C. § 22. Plaintiffs reiterated that position in their February 6, 2024 letter
  objections to the court. (ECF No. 68.) Plaintiffs want it both ways. They assert only state-law claims to
  seek to conjure antitrust standing where none exists. But the Clayton Act only applies to federal antitrust
  claims. See, e.g., In re Vitamin C Antitrust Litig., 2012 WL 2930109, at *8 (E.D.N.Y. July 18, 2012)
  (“Because the Audette plaintiffs do not bring federal antitrust claims, the Clayton Act cannot serve as a
  basis for this Court’s jurisdiction over CPG in that action.”).

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  jurisdiction is lacking regardless of the extent of a defendant’s unconnected activities in the State.

  See id. at 931 n.6.

         California does not have specific jurisdiction over the PNC defendants because plaintiffs’

  state-law antitrust claims’ allegations of a national conspiracy do not arise out of, or relate to, PNC

  defendants’ contacts with California.         Specific jurisdiction, regardless of a defendant’s

  unconnected activities in a state, requires an “affiliation between the forum and the underlying

  controversy, principally, [an] activity or an occurrence that takes place in the forum State.” Bristol-

  Myers Squibb Co., 582 U.S. at 264 (alteration in original) (quoting Goodyear, 564 U.S. at 919).

  Regarding plaintiffs’ Cartwright Act claims, any specific jurisdiction over PNC defendants “must

  be substantially connected to or arise out of the defendant’s contacts with this state.” In re Auto.

  Antitrust Cases I & II, 135 Cal. App. 4th 100, 115 (2005). Plaintiffs must therefore make

  jurisdictional allegations regarding PNC defendants’ specific contacts with or “forum-related acts”

  in California for the purpose of furthering the alleged conspiracy. Id. at 271 (emphasis added).

  They have not and cannot do so here.

         Indeed, the quantity of the PNC defendants’ contacts or activities in California unrelated

  to the alleged conspiracy are immaterial because the Supreme Court has rejected the “sliding-

  scale” approach that some courts had previously used to find jurisdiction in the absence of an

  “affiliation between the forum and the underlying controversy.” Bristol-Myers Squibb Co., 582

  U.S. at 264 (rejecting “the California approach, [in which] the strength of the requisite connection

  between the forum and the specific claims at issue is relaxed if the defendant has extensive forum

  contacts that are unrelated to those claims”). Plaintiffs establish no affiliation between California

  and PNC defendants with regard to their state-law antitrust claims; they base jurisdiction simply

  on a conclusory averment of defendants’ marketing of cards within California, referring only to



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  PNC defendants’ (non-California) location, size and revenues. (FAC ¶¶ 24, 45-46, 59.) Plaintiffs

  have made no allegations that the PNC defendants have done anything in California in furtherance

  of the alleged Cartwright Act violations, and thus jurisdiction is lacking.

          While plaintiffs do allege a conspiracy with nationwide effect,13 that does not suffice to

  satisfy the purposeful direction prong. See, e.g., Learning Evolution, LLC v. CPG Catnet Inc.,

  2022 WL 484999, at *4 (S.D. Cal. Feb. 16, 2022) (finding no basis for specific jurisdiction over

  defendants in Cartwright Act case because plaintiffs did not show that defendants expressly aimed

  their intentional conduct at California, and “effects from [a] nation-wide price fixing conspiracy. . .

  create no connection to any particular forum” (alterations in original) (citation omitted)); In re

  Packaged Seafood Prods. Antitrust Litig., 2020 WL 2747115, at *58 (S.D. Cal. May 26, 2020)

  (finding Kansas transferor court had no specific jurisdiction over defendant for national conspiracy

  claims because the plaintiff “‘would have experienced’ the same injury from overpaying ‘in

  California, Mississippi, or wherever else’ it might have purchased the price-fixed tuna.” (quoting

  Walden v. Fiore, 571 U.S. 277, 290 (2014))).

          Further, none of the named plaintiffs has a PNC payment card. See Ex. A. Therefore, no

  plaintiff is alleged to have paid, even indirectly, PNC’s interchange fees. Thus, assuming

  arguendo that a California PNC cardholder’s purported injuries in California from an alleged

  nationwide conspiracy would be sufficient to confer jurisdiction, there are no such plaintiffs here.

  And pursuant to the Supreme Court’s due process jurisprudence, the fact that PNC Bank has credit

  card customers in California who would have allegedly suffered the injuries complained of is of


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    Plaintiffs contend that the interchange fee is fixed “across all general purpose debit and credit cards[,]”
  (FAC Introduction), draining “nearly a trillion dollars from the nation’s economy” (id. ¶ 68), due to the
  prices charged on “every Visa and Mastercard transaction” (id. ¶ 72) (emphasis added). They reference
  the MDL (id. ¶ 69), use national market share data (id. ¶ 193), and even seek injunctive relief to the same
  extent as the federal MDL, which alleges a national conspiracy (id. ¶ 86).

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  no moment, because “a defendant’s relationship with a . . . third party, standing alone, is an

  insufficient basis for jurisdiction.” Walden, 571 U.S. at 286. This remains true even when the

  third parties are residents of the forum. Bristol-Myers Squibb Co., 582 U.S at 265. In sum, just as

  there is no general jurisdiction there is no specific jurisdiction over PNC defendants, and so the

  claims against them in the Complaint must be dismissed.

      V.   THE COURT SHOULD COMPEL ARBITRATION OF PLAINTIFFS’ CLAIMS

           In any event, plaintiffs’ claims are subject to arbitration. The liberal policy favoring

  arbitration agreements creates a strong presumption in favor of enforcement and “any doubts

  concerning the scope of arbitrable issues should be resolved in favor of arbitration.” Moses H.

  Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25 (1983); see also Epic Sys. Corp.

  v. Lewis, 584 U.S. 497, 505-506 (2018). Here, each plaintiff has entered into an arbitration

  agreement with at least one bank defendant. Under well-settled Second Circuit precedent,

  plaintiffs are estopped from avoiding these arbitration agreements and applicable class waivers by

  bringing class claims against purported co-conspirators of the bank defendants with whom they

  have arbitration agreements.14

           A. Plaintiffs’ Arbitration Agreements

           Each plaintiff in this case has an agreement containing a mandatory arbitration clause with

  at least one bank defendant (“Arbitration Agreement”) that require arbitration of all cardholder

  disputes on an individual, non-class basis. Specifically:

  ▪     John Palladino has had an Arbitration Agreement with Bank of the West since 2014 and Wells
        Fargo since 2006 that contain mandatory arbitration provisions and class action waivers.
        (Nagin Decl. Exs. A, E.)


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     Defendants anticipate that many unnamed, putative class members will also have card agreements with
  mandatory arbitration clauses, class action waivers, and jury trial waivers. Defendants reserve their rights
  to enforce these provisions as to putative class members and to assert such defenses at the appropriate time.

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  ▪   Steve Palladino has had Arbitration Agreements with Bank of the West since 2014 that contain
      a mandatory arbitration provision and class action waiver. (Nagin Decl. Ex. A.)

  ▪   John Nypl has had Arbitration Agreements with Chase since 2009 that contain mandatory
      arbitration provisions and class action waivers. (Nagin Decl. Exs. B, C, D.)

  ▪   Garib Karapetyan has had Arbitration Agreements with Bank of the West since 2014 and Wells
      Fargo since 2014 that contain mandatory arbitration provisions and class action waivers.
      (Nagin Decl. Exs. A, E.)

         In the Complaint, plaintiffs concede that they are bound by their Arbitration Agreements:

         No Plaintiff class member seeks relief herein or makes a claim against any banking
         institution that issued such Plaintiff a credit or debit card with which bank that
         Plaintiff has executed an Arbitration Agreement. No Plaintiff class member seeks
         relief herein or makes a claim against any banking institution that issued such
         Plaintiff a credit or debit card with which bank that Plaintiff has executed an
         arbitration agreement.

  (FAC ¶ 16; see also id. ¶ 212.) Thus, by their own admission, plaintiffs are not pursuing claims

  against the banks listed above. And for the reasons that follow, plaintiffs’ claims against non-

  signatory bank and network defendants are also subject to arbitration.

         B. Plaintiffs Should Be Estopped from Avoiding Arbitration

         Plaintiffs cannot circumvent their agreements to arbitrate by pursuing joint and several

  liability claims against non-signatory defendants who allegedly conspired with banks with whom

  plaintiffs admit having binding Arbitration Agreements. The Second Circuit has held that “a non-

  signatory to an arbitration agreement may compel a signatory to that agreement to arbitrate a

  dispute where . . . the issues the non-signatory is seeking to resolve in arbitration are intertwined

  with the agreement that the estopped party has signed.” JLM Indus., Inc. v. Stolt-Nielsen SA, 387

  F.3d 163, 177 (2d Cir. 2004).

         JLM involved joint and several liability claims against defendants who allegedly conspired

  to violate competition laws. And shortly after it was decided, the Southern District of New York

  applied it to compel arbitration in circumstances nearly identical to the instant case. See In re

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  Currency Conversion Fee Antitrust Litig., 361 F. Supp. 2d 237, 262-65 (S.D.N.Y. 2005).

  Currency Conversion followed the Second Circuit’s decision in JLM and found that cardholder

  plaintiffs were estopped from litigating joint and several conspiracy claims that were “intertwined

  with the underlying contract” which requires arbitration and “there is a close relationship between

  the non-signatory and the plaintiff’s actual counter-signatory” to that contract. Id. at 260–61. This

  reasoning applies with even greater force here.

          The plaintiffs in Currency Conversion alleged a conspiracy among the card payment

  networks and their member banks with respect to foreign currency conversion fees. The court

  reasoned that (1) the plaintiffs alleged a “close relationship” between the signatory and non-

  signatory banks and networks; (2) the plaintiffs’ antitrust claims against the non-signatory banks

  “concerned that relationship”; and (3) the plaintiffs’ antitrust claims against the non-signatory

  banks were “closely linked” to the disputes that were subject to arbitration in the underlying

  contract. Id. at 263-64 (citing JLM, 387 F.3d at 178 n.7 (quotation marks omitted)). So, any

  plaintiff with a valid arbitration agreement with any defendant bank was estopped from litigating

  claims against all non-signatory banks and the networks. Id. at 264-65. The same result follows

  here.

          Relationship between Arbitration Signatories and Non-Signatories. First, just like the

  plaintiffs in JLM and Currency Conversion, plaintiffs here allege a close relationship among the

  bank and network defendants. With respect to the non-signatory network defendants, the court in

  Currency Conversion found that, “more than simply an agency relationship, the Complaint alleges

  that the issuing banks control the network defendants” and “that the banks have insinuated

  themselves into the network defendants to such a degree that the networks are effectively part of

  the member banks’ operations.” Id. at 262-63. With respect to non-signatory bank defendants,



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  the court in Currency Conversion found a “close relationship” based on plaintiffs’ allegation “that

  the issuing banks operate collectively through the network associations and that this relationship

  incubated the conspiracy.” Id. at 264.

         Like the complaint in Currency Conversion, plaintiffs here allege that defendants are

  closely linked through the bank defendants’ allegedly conspiratorial and controlling relationship

  over the networks. Plaintiffs assert that following the IPOs of Visa and Mastercard, “the defendant

  banks retain control of two parallel networks, enabling Visa and Mastercard to place

  anticompetitive tariffs on the relevant market” (FAC ¶ 147), and that the “combined power that

  top Visa / Mastercard issuers possess in the relevant market enables them to collectively control

  the interchange levels that Visa and Mastercard set” (id. ¶ 180). Plaintiffs also allege that the

  “member banks executed a number of related agreements structured to make certain that member

  banks would retain significant control over major decisions” and that “[a]greements were drawn

  to prevent the new ‘MasterCard’ entity from becoming a genuine competitor capable of diluting

  the banks’ and Visa’s market power.” (Id. at 110-11.) Similarly, with respect to Visa, plaintiffs

  allege, as “was the case with Mastercard, Visa’s transformation ensured that its member banks

  retained significant control over its corporate and competitive decisions.” (Id. at 112-13.) Just as

  in Currency Conversion, estoppel is warranted here because plaintiffs allege that the issuing banks’

  relationship with the networks render the networks “effectively part of the member banks’

  operations.” 361 F. Supp. 2d at 262-63.

         The Complaint here similarly alleges a number of purported “collusive acts” among the

  defendant networks and banks that represent precisely the type of “close relationship,” that

  precluded the plaintiffs in Currency Conversion and other cases from avoiding arbitration. These

  alleged collusive acts include agreeing to written contracts, agreeing to coordinate interchange



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  fees, participating in conversations and meetings to discuss what interchange fees to charge, and

  exchanging information regarding fees and other business information. (FAC ¶¶ 224, 235); see

  also Camferdam v. Ernst & Yong Int’l, 2004 WL 307292, at *6-7 (S.D.N.Y. Feb. 13, 2004).

         The close relationship that plaintiffs allege among the bank defendants is equally clear.

  Indeed, the alleged relationship is so close that plaintiffs’ Complaint fails to distinguish the conduct

  of the defendant banks with whom plaintiffs have Arbitration Agreements from the conduct of the

  banks against which they purport to bring their joint and several conspiracy claims. Courts have

  consistently compelled arbitration via estoppel where a plaintiff’s claims against signatories and

  non-signatories are undifferentiated. See Smith/Enron Cogeneration P’ship v. Smith Cogeneration

  Int’l, Inc., 198 F.3d 88, 98 (2d Cir. 1999) (“[B]y treating [defendants] as a single unit in its

  complaint,” plaintiff “is estopped from claiming that the current signatories to the [contract

  containing an arbitration clause] are distinct from the [non-signatory] defendants”); see also

  Kuklachev v. Gelfman, 600 F. Supp. 2d 437, 459 (E.D.N.Y. 2009) (similar).

         Nexus of Plaintiffs’ Claims to Defendants’ Relationship.              Second, as in Currency

  Conversion, the Complaint establishes that “plaintiffs’ antitrust claims stem from the banks’ close

  relationship through the networks.” 361 F. Supp. 2d at 264. In Currency Conversion, this factor

  was satisfied where plaintiffs alleged that “the bank defendants ‘jointly, through their [network]

  associations, agreed to charge a floor price of 1% for the transaction fee charges denominated in a

  foreign currency.’” Id. The same is true here. Plaintiffs claim that defendants formed a “joint

  alliance” and “mutual pact” in an alleged effort to “jointly set[] Interchange Fees in both [Visa and

  Mastercard] networks.” (FAC ¶¶ 73, 139.) Plaintiffs allege that the “Defendant Banks combined

  collectively with the networks to formulate and agree to each network’s bylaws, rules and

  regulations” and that these alleged agreements remain “among Mastercard/Visa and their member



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  banks to fix, enforce, and maintain the unlawfully fixed interchange fees that Defendants lock into

  place with Rules.” (Id. ¶ 20.) These allegations alone establish that plaintiffs’ claims arise out of

  the “close relationship” among the signatory banks and non-signatory banks and networks.

         Nexus between Plaintiffs’ Claims and Arbitrable Disputes. Third, plaintiffs’ antitrust

  claims against the non-signatory banks are “closely linked”—and in fact, identical—to claims

  covered by the Arbitration Agreements with the signatory banks. As in Currency Conversion,

  “plaintiffs’ claims against the non-signatory bank defendants are ‘closely linked’ to their claims

  against their issuing banks because both are intertwined with the cardholder agreements” that

  require arbitration of fee disputes that “arise under the subject matter of the underlying agreement

  between plaintiffs and the issuing banks.” 361 F. Supp. 2d at 264-65 (internal marks omitted).

         Plaintiffs try to sidestep this conclusion by disavowing any “claims against their issuing

  banks.” This attempt fails because their arbitration agreements with these banks turn on the

  substance, not semantics, of the claims raised in this suit. Here, as in JML and Currency

  Conversion, plaintiffs’ claims against all defendants are joint and several conspiracy claims that

  are entirely dependent on plaintiffs’ status as holders of cards issued by banks with whom plaintiffs

  signed arbitration agreements. Plaintiffs allege that as cardholders they are harmed as “direct

  purchaser[s] and first payer[s]” of the fees that all defendants, including their issuing banks and

  arbitration counterparties, allegedly fixed. (FAC ¶ 82.) They further allege that the issuing banks

  failed to disclose “that the cardholder is a joint direct purchaser of each payment-card transaction,

  or that an interchange fee is applied to the transaction and withdrawn from the cardholder’s

  payment account.” (Id. ¶ 83.) Plaintiffs are therefore situated just like the cardholder plaintiffs in

  Currency Conversion, whose claims the court found to “arise under the subject matter of the

  underlying [arbitration] agreement between plaintiffs and the issuing banks” because “plaintiffs



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  allege that all of the defendants conspired, each with the others, to inflate the fees imposed under

  every cardholder agreement.” 361 F. Supp. 2d at 265 (cleaned up).

          In sum, plaintiffs treat defendants as interchangeable participants in a conspiracy among

  the banks and networks made possible by their close relationship to one another and assert joint

  and several liability claims that plaintiffs admit are covered by their Arbitration Agreements with

  certain bank defendants. This is the exact factual scenario under which plaintiffs were estopped

  from avoiding arbitration with non-signatories in Currency Conversion based on the Second

  Circuit’s controlling analysis in JML. Plaintiffs are estopped from avoiding arbitration here.

          C. The Court Should Stay This Case Pending Arbitration

          Section 3 of the Federal Arbitration Act provides that a district court, upon determining

  that an action before it is subject to an enforceable arbitration provision, “shall . . . stay the trial of

  the action until such arbitration has been had in accordance with the terms of the agreement.” 9

  U.S.C. § 3; see Kamin Health LLC v. Halperin, 2021 WL 964949, at *9 (E.D.N.Y. Mar. 15, 2021)

  (“Because Plaintiff must arbitrate its claims, the Court stays this case pending the results of

  arbitration.”).   Defendants respectfully request that the Court stay this case pending any

  arbitrations that are filed on any claims that survive defendants’ concurrent motion to dismiss.

                                              CONCLUSION

          For the foregoing reasons, this Court should dismiss the Complaint in its entirety and with

  prejudice or, alternatively, limit plaintiffs’ claims to those accrued as of December 30, 2018 or,

  alternatively, compel individual arbitrations of plaintiffs’ claims.




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  Dated: New York, New York
         February 9, 2024


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